                 UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MISSOURI
                       CENTRAL DIVISION

Shipyard Brewing Company, LLC          )
                                       )
      Plaintiff,                       )
                                       )
             v.                        )            Case No. 17-4079
                                       )
Logboat Brewing Company, LLC           )
                                       )
      Defendant.                       )

                                   COMPLAINT

      Shipyard Brewing Company has been forced to file this trademark

infringement suit against Logboat Brewing Company because Logboat has insisted

on continuing to sell its “Shiphead” beer using a logo confusingly similar to the logo

on Shipyard’s signature Export Ale beer (Reg. No. 1,855,906):




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       Even after receiving multiple letters from Shipyard’s attorneys, Logboat

continued to sell Shiphead beer and introduced a new line of raspberry-flavored

Shiphead beer. Further, guests at Logboat’s brewery were invited to make use of

Logboat’s outside area, which it termed “the Shipyard.”

       Now, after repeated attempts at resolving this matter short of federal

infringement litigation, comes Shipyard Brewing Company, LLC (“Shipyard”), by

and through its counsel, and complains against Logboat Brewing Company, LLC

(“Logboat”) for trademark infringement and other wrongs for the reasons that

follow.

                       PARTIES, JURISDICTION, AND VENUE

       1.       Plaintiff Shipyard is a Maine limited liability company with a principal

place of business at 86 Newbury Street, Portland, Maine 04101.

       2.       Defendant Logboat is a Missouri limited liability company with a

principal place of business at 504 Fay Street, Columbia, Missouri 65201.

       3.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §

1331 because Shipyard’s claims arise under federal law.

       4.       This Court has personal jurisdiction over the Defendant because it is a

citizen of the State of Missouri.

       5.       Venue is appropriate under 28 U.S.C. § 1391 because the Defendant

resides within this judicial district.




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                                         FACTS

      6.       Shipyard is a craft brewery that produces approximately nineteen

types of handcrafted beer.

      7.       Shipyard is the owner of the well-known, federally-registered and

incontestable trademark SHIPYARD as used on a variety of goods and services,

most notably its beers. Shipyard has used its SHIPYARD trademark for more than

25 years.

      8.       Shipyard is also the owner of and has used other trademarks that

contain the term SHIP as a prefix or first term in relation to its beers and brewing

operations, including, without limitation, the trademarks SHIPWEAR and SHIP

HAPPENS.

      9.       Shipyard further owns and has used other trademarks that contain the

term HEAD as a suffix in relation to its beers, including, but not limited to,

PUMPKINHEAD, MELONHEAD, and APPLEHEAD.

      10.      Shipyard’s family of SHIPYARD, SHIP, and HEAD marks (collectively

“Shipyard’s Trademarks”) all were in use and/or registered prior to Logboat’s

earliest priority date of February 20, 2014.

      11.      The   following   valid   and       subsisting   United   States   trademark

registrations pertain to Shipyard’s Trademarks:



 Reg. No.          Date                        Trademark
 3114205        11 Jul 2006                    SHIPYARD
 3390836        04 Mar 2008                    SHIPWEAR


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2015253   12 Nov 1996       THE SHIPYARD w/ Design




4827129   06 Oct 2015         SHIPYARD w/ Design




2189606   15 Sep 1998   SHIPYARD BREWING COMPANY
3289749   11 Sep 2007        SHIPYARD BREW PUB
1855906   27 Sep 1994      SHIPYARD EXPORT ALE
3250867   12 Jun 2007       SHIPYARD BREW HAUS
2803154   06 Jan 2004         PUMPKINHEAD ALE
4337678   21 May 2013      PUMPKINHEAD w/ Design




4552562   17 Jun 2014           MELONHEAD
4822169   29 Sep 2015        MELONHEAD w/ Design




4538048   27 May 2014             APPLEHEAD




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True and correct copies of the pleaded registrations taken from the United States

Patent and Trademark Office’s database and showing the current status and title of

the registrations are attached hereto as Exhibit A.

      12.    Shipyard has sold beer bearing its marks in Missouri.

      13.    As a result of Shipyard’s long-standing and exclusive use of the term

SHIPYARD and its family of SHIP and HEAD marks, the purchasing public has

come to associate such terms with Shipyard and its beer and will naturally conclude

that SHIPHEAD is a SHIPYARD trademark.

      14.    Logboat is the current owner of U.S. Registration No. 4,778,195 for the

trademark SHIPHEAD GINGER WHEAT in relation to “beer” (the “‘195

Registration”).   Logboat disclaims any exclusive right to the phrase, GINGER

WHEAT, and, as a result, the dominant portion of Logboat’s mark is the term,

SHIPHEAD. Logboat alleges a first use date of April 29, 2014 with its application

filing date being February 20, 2014.

      15.    Logboat makes the beer bearing its SHIPHEAD GINGER WHEAT

mark available through multiple channels of distribution. It sells the goods at its

brewery, located in Columbia, Missouri, which it refers to as the taproom. Logboat

has also sold beer bearing the SHIPHEAD GINGER WHEAT mark beyond

Missouri.

      16.    Logboat’s registration and use of the term SHIPHEAD is substantially

similar to Shipyard’s Trademarks, such that the use and registration of the term

SHIPHEAD by Logboat is likely to cause confusion and mistake in the marketplace,



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or to de
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                           nd others as
                                     a to the ssource or oorigin of Loogboat’s gooods,

both of which
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                uld cause irrreparable harm and damage too Shipyard..

      17.    SHIP
                PHEAD and SHIPY
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phonetically, an important factor
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Furtherr, Logboat’’s SHIPHE
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                                 k is used in a man
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similar to Shipyard’s Trade
                          emarks. For
                                  F examplle, Logboatt’s packagiing uses coolors

that are
       e identical to the colorrs that Shiipyard usess for its pa
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logos arre conceptu
                  ually simillar in thatt it the wooman depiccted on Loogboat’s beer is

wearing
      g a schoon
               ner on herr head tha
                                  at is high
                                           hly similarr to Shipy
                                                               yard’s federally

registerred and incontestable
                            e Schooner logo, hencee “Shiphea
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Given these
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              merous add
                       ditional siimilarities,, consumeers are hiighly likelly to

mistake
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                ude that SH
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       18.   On July 9, 2015, counsel for Shipyard sent correspondence to counsel

for   Logboat   and   expressed    Shipyard’s   concerns   regarding    Logboat’s   195

Registration and use of term SHIPHEAD to promote its beers, and the phrase “the

Shipyard” in association with its brewery.

       19.   On   January    19,   2016,   counsel   for   Shipyard    sent   additional

correspondence to counsel for Logboat and formally requested that Logboat

voluntarily cancel U.S. Registration No. 4778195, cease using the term SHIPHEAD

to promote its beers. Among other things, Shipyard objected to Logboat terming the

beer garden located at its brewery “the Shipyard.”

       20.   In response to Shipyard’s cease and desist demand, Logboat continued

to use the term SHIPHEAD to promote its beers. Logboat did stop calling its beer

garden “the Shipyard,” but only after Shipyard contacted Logboat.

       21.   On June 8, 2016, Shipyard filed a Petition for Cancellation with the

Trademark Trial and Appeal Board (TTAB) of the United States Patent and

Trademark Office (USPTO). In its Petition, Shipyard requested the cancellation of

U.S. Registration No. 4,778,195.

       22.   In or about September 2016, after Shipyard’s cease and desist demand

and the filing of its Petition for Cancellation, Logboat expanded its use of the term,

SHIPHEAD, by introducing a new beer bearing the mark: RASBERRY SHIPHEAD

GINGER WHEAT.

       23.   Despite repeated attempts at identifying an amicable resolution to

their issues, the parties have been unable resolve their dispute.



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      24.    As of the time of this filing, Logboat continues to use the term

SHIPHEAD to promote its beers.          Logboat’s use has created a likelihood of

confusion in the marketplace, and Logboat has illegally sought to trade upon

Shipyard’s good will by adopting trademarks, packaging, and logos designed to

deceive consumers of its goods.

                              CLAIMS OF LIABILITY

      COUNT I – TRADEMARK INFRINGEMENT (15 U.S.C. §§ 1114 et seq.)

      25.    Shipyard incorporates all paragraphs above and below.

      26.    The Defendant has used Shipyard’s Trademarks without consent, and

in the face of a prior cease and desist demand.

      27.    The Defendant’s infringing actions occurred after it had actual notice

of the Plaintiff’s ownership of its Trademarks, and after Shipyard directed it to

cease and desist its infringement.

      28.    The Defendant also expanded its use after it had actual notice of the

Plaintiff’s ownership of its Trademarks by introducing RASBERRY SHIPHEAD

GINGER WHEAT.

      29.    The Defendant’s infringement is therefore willful.

      30.    By using Shipyard’s Trademarks in connection with the advertising,

sale, and provision of its products, namely its beer and brewery, the Defendant has

caused a likelihood of confusion in the minds of the public as to the connection

between Shipyard’s products and those of the Defendant.




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      31.      The Defendant’s unauthorized and willful use of marks confusingly

similar to Shipyard’s Trademarks constitutes an infringement of Shipyard’s rights

in and to the use of its federally registered marks, with consequent damages to

Shipyard and the business and good will associated with and symbolized by the

Shipyard’s Trademarks and, specifically, gives rise to this action under 15 U.S.C. §§

1114 et seq.

      32.      Shipyard is irreparably injured by Defendant’s infringement.     This

injury is ongoing.

      33.      This case is an “exceptional” one within the meaning and scope of 15

U.S.C. § 1117, so that attorneys’ fees should be awarded to Shipyard.            The

Defendant has infringed on Shipyard’s Trademarks, has refused to cease and desist

from that use even after being confronted with Shipyard’s federal registrations, and

has expanded its use following actual notice of its infringement, thereby willfully

infringing.

      34.      Shipyard is therefore entitled to injunctive relief against the

Defendant, and anyone acting in concert with the Defendant, to restrain further

acts of infringement and, after trial, to recover any damages, including statutory

damages under 15 U.S.C. § 1117, caused by reason of the Defendant’s aforesaid

acts, and to recover enhanced damages based on the Defendant’s willful,

intentional, and/or grossly negligent acts.




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      COUNT II – TRADE DRESS INFRINGEMENT (15 U.S.C. § 1125(a)(1))

      35.    Shipyard incorporates all paragraphs above and below.

      36.    Shipyard’s goods are contained in distinctive trade dress, in the form of

beer bottles and/or cans containing its beers, which are branded in a distinctive

color scheme, and make use of a unique schooner logo.

      37.    Shipyard’s trade dress has acquired secondary meaning through

Shipyard’s promotion and the nationwide use of said trade dress since at least 1992.

      38.    Shipyard owns the distinctive elements of its packaging, branding, and

logo as trade dress.

      39.    The trade dress is non-functional, serving only to identify the goods as

Shipyard’s beers.

      40.    The Defendant uses a beer can for its SHIPHEAD GINGER WHEAT

beer, which contains a color scheme and a schooner logo that is similar to

Shipyard’s trade dress.

      41.    The Defendant did so without Shipyard’s consent.

      42.    The Defendant’s actions are likely to cause confusion among ordinary

consumers as to the source, sponsorship, affiliation, or approval of Shipyard’s goods.

      43.    The Defendant’s actions violate 15 U.S.C. § 1125(a)(1).

      44.    This case is an “exceptional” one within the meaning and scope of 15

U.S.C. § 1117, so that attorneys’ fees should be awarded to Shipyard.

      45.    Shipyard is therefore entitled to injunctive relief against the

Defendant, and anyone acting in concert with the Defendant, to restrain further



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acts of infringement and, after trial, to recover any damages, including statutory

damages under 15 U.S.C. § 1117, caused by reason of the Defendant’s aforesaid

acts, and to recover enhanced damages based on the Defendant’s willful,

intentional, and/or grossly negligent acts.

                                   PRAYERS FOR RELIEF

       WHEREFORE, Shipyard Brewing Company, LLC requests that this

Honorable Court:

       A.      Enter an injunction prohibiting the Defendant from making any use
               whatsoever of Shipyard’s Trademarks, trademarked products, and
               products similar to Shipyard’s distinctive trade dress;

       B.      Order the Defendant to provide an accounting of all monies received as
               a result of its improper conduct;

       C.      Award Shipyard statutory damages;

       D.      Award Shipyard actual damages in the form of lost profits;

       E.      Order Logboat to provide Shipyard monies in an amount to be
               determined for corrective advertising to address Logboat’s deceptive
               and misleading false advertising;

       F.      Award Shipyard pre- and post-judgment interest;

       G.      Award Shipyard reasonable attorneys’ fees and costs; and

       H.      Grant such other relief as may be just and proper.

                                   JURY TRIAL DEMAND

            Plaintiff Shipyard Brewing Company, LLC hereby demands a jury trial on all

issues so triable as alleged herein.




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Dated: May 15, 2017
                                          Respectfully Submitted,


                                          ARMSTRONG TEASDALE LLP

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